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                                                                        Eastern District ofKentucq
                        UNITED STATES DISTRICT COURT
                                                                              F I LED
                        EASTERN DISTRICT OF KENTUCKY .                       MAY 26 2015
                             SOUTHERN DIVISION
                                                                                 AT lONDON
                                   LONDON                                     ROBERT R. CARR
                                                                          CLERK U.S. DISTRICT COURT
CRIMINAL ACTION NO.             /5 -Iq ... is[ff
UNITED STATES OF AMERICA                                                     PLAINTIFF


V.                            WAIVER OF INDICTMENT


ROY WAYNE COMBS                                                            DEFENDANT

                                    *    *   *    *    *

        I understand that I have been accused of an offense punishable by imprisonment for

more than one year. I was advised in open court of my rights and the nature of the

proposed charge against me.

        After receiving this advice, I waive my right to prosecution by indictment and

consent to prosecution by information.


                                                 Roy       ayne Combs



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                                                 Pamela Ledgewood
                                                 Attorney for Defendant


Before:


Date:
